Case 2:03-CV-O2832-BBD-STA Document 25 Filed 07/07/05 P'age 1 of 2 Page|D 52

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UNITED STATES DISTRICT COURT
WESTERN DISTRICT oF TENNESSEEL ~1 PH ‘2’ 29

 

WESTERN DIVISION UOW»S M. GOLRD
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TIM COMSTOCK JUDGMENT IN A CIVIL CASE
v °
FEDERAL EXPRESS CORPORATION; et al. CASE NO= 03_2832-D

 

DECISICN BY COURT. This action came to consideration before the
Court. The issues have been considered and a decision has been
rendered.

IT IS SO ORDERED AND ADJUDGED that in accordance with the Order of
Dismissal entered on July 5, 2005, this cause is hereby dismissed
without prejudice.

APPROVED:

  

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Clerk of Court

(By) Deputy Cle%k

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Notice of Distribution

This notice confirms a copy of the document docketed as number 25 in
case 2:03-CV-02832 Was distributed by faX, mail, or direct printing on
July ]2, 2005 to the parties listed.

 

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Honorable Bernice Donald
US DISTRICT COURT

